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 1   AMBIKA KUMAR (pro hac vice)
       ambikakumar@dwt.com
 2   DAVIS WRIGHT TREMAINE LLP
     920 Fifth Avenue, Suite 3300
 3   Seattle, Washington 98104
     Telephone: (206) 757-8030
 4
     ADAM S. SIEFF (CA Bar No. 302030)
 5     adamsieff@dwt.com
     DAVIS WRIGHT TREMAINE LLP
 6   865 South Figueroa Street, 24th Floor
     Los Angeles, California 90017-2566
 7   Telephone: (213) 633-6800
 8   DAVID M. GOSSETT (pro hac vice)
       davidgossett@dwt.com
 9   MEENAKSHI KRISHNAN (pro hac vice)
     meenakshikrishnan@dwt.com
10   DAVIS WRIGHT TREMAINE LLP
     1301 K Street NW, Suite 500 East
11   Washington, D.C. 20005
     Telephone: (202) 973-4200
12
     ROBERT CORN-REVERE (pro hac vice)
13     bob.corn-revere@thefire.org
     FOUNDATION FOR INDIVIDUAL RIGHTS AND EXPRESSION
14   700 Pennsylvania Avenue SE, Suite 340
     Washington, D.C. 20003
15   Telephone: (215) 717-3473
16   Attorneys for Plaintiff
     NETCHOICE, LLC d/b/a NetChoice
17

18
                              IN THE UNITED STATES DISTRICT COURT
19                           THE NORTHERN DISTRICT OF CALIFORNIA
20                                      SAN JOSE DIVISION

21
     NETCHOICE, LLC d/b/a NetChoice,
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                    Plaintiff,
23                                               Case No. 5:22-cv-08861-BLF
            v.
24                                               JOINT STIPULATION PROPOSING
     ROB BONTA, ATTORNEY GENERAL OF              BRIEFING SCHEDULE AND
25   THE STATE OF CALIFORNIA, in his official    ENLARGEMENT OF PAGE LIMITS
     capacity,
26
                    Defendant.
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     JOINT STIPULATION
     Case No. 5:22-cv-08861-BLF
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 1          Pursuant to Local Rules 6-2, 7-11, and 7-12, Plaintiff NetChoice, LLC, and Defendant Rob
 2   Bonta, Attorney General of the State of California, stipulate and respectfully request that the Court
 3   approve the following briefing schedule and page limits.
 4          Plaintiff filed the Complaint on December 14, 2022, alleging that AB 2273 is
 5   unconstitutional and preempted by federal law (ECF No. 1);
 6          Plaintiff filed a motion for a preliminary injunction on February 17, 2023 (ECF No. 29);
 7          This Court granted Plaintiff’s motion for a preliminary injunction on September 18, 2023
 8   (ECF No. 74);
 9          Defendant appealed this Court’s order granting Plaintiff’s motion for a preliminary
10   injunction to the United States Court of Appeals for the Ninth Circuit on October 18, 2023 (ECF
11   No. 75);
12          The Ninth Circuit affirmed in part and vacated in part this Court’s injunction (Ninth Circuit
13   Dkt. 121);
14          Plaintiff intends to file a Motion for a Preliminary Injunction enjoining enforcement of the
15   remaining provisions of AB 2273 pending this litigation;
16          The Parties have met and conferred. The State has agreed to stay enforcement of the
17   remaining provisions no longer subject to this Court’s preliminary injunction until March 6, 2025,
18   and to not seek to enforce AB 2273 retroactively;
19          In consideration of the State’s agreement to stay enforcement of the remaining provisions,
20   the parties have agreed to a proposed briefing schedule with respect to the contemplated Motion;
21          The Parties agree that doing so would be equitable, efficient, and aid the Court’s
22   adjudication of the contemplated Motion by permitting counsel to more comprehensively present
23   the issues to the Court for decision;
24          NOW THEREFORE, the Parties jointly stipulate, agree, and respectfully request the Court
25   to enter an order as follows:
26          1.       Plaintiff’s Motion for a Preliminary Injunction and Memorandum of Points and
27                   Authorities in Support will be due on October 18, 2024, and the Memorandum of
28

                                                           1                       DAVIS WRIGHT TREMAINE LLP
                                                                                      865 S. FIGUEROA ST, SUITE 2400
     JOINT STIPULATION                                                             LOS ANGELES, CALIFORNIA 90017-2566
                                                                                                (213) 633-6800
     Case No. 5:22-cv-08861-BLF                                                               Fax: (213) 633-6899
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 1                  Points and Authorities will be no longer than 45 pages.               This reflects an
 2                  enlargement of 20 pages. See Local Rules 7-2(b), 7-4(b).
 3          2.      Defendant’s Response to Plaintiff’s Motion for a Preliminary Injunction, if any,
 4                  will be due on November 22, 2024, and will be no longer than 45 pages. This
 5                  reflects a 21-day extension, and an enlargement of 5 pages. See Local Rules 7-2(b),
 6                  7-3(a), 7-4(b).
 7          3.      Plaintiff’s Reply in Support of its Motion for a Preliminary Injunction will be due
 8                  on December 20, 2024, and will be no longer than 25 pages. This reflects a 21-
 9                  day extension, and an enlargement of 10 pages. See Local Rules 7-3(a), (c), 7-4(b).
10          4.      Subject to the Court’s availability, the parties respectfully request oral argument to
11                  be held on January 9, 16, or 23, 2025.
12          5.      The State shall stay enforcement of the remaining provisions of AB 2273 until
13                  March 6, 2025, and shall never attempt to retroactively enforce any provision of
14                  AB 2273 allegedly violated before March 6, 2025.
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16          IT IS SO STIPULATED.
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                                                           2                       DAVIS WRIGHT TREMAINE LLP
                                                                                      865 S. FIGUEROA ST, SUITE 2400
     JOINT STIPULATION                                                             LOS ANGELES, CALIFORNIA 90017-2566
                                                                                                (213) 633-6800
     Case No. 5:22-cv-08861-BLF                                                               Fax: (213) 633-6899
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 1    DATED: August 28, 2024                    Respectfully submitted,

 2
                                                DAVIS WRIGHT TREMAINE LLP
 3

 4
                                                By: /s/    Adam S. Sieff
 5                                                        Adam S. Sieff

 6                                              Attorneys for Plaintiff
                                                NetChoice LLC, d/b/a NetChoice
 7

 8

 9    DATED: August 28, 2024                    Respectfully submitted,
10

11                                              ROB BONTA
                                                Attorney General of California
12                                              ANYA M. BINSACCA
                                                Supervising Deputy Attorney General
13

14                                              By: /s/ Kristin Liska
15                                                 KRISTIN A. LISKA
                                                   Deputy Attorney General
16

17                                              Attorneys for Defendant

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                                                  3                        DAVIS WRIGHT TREMAINE LLP
                                                                              865 S. FIGUEROA ST, SUITE 2400
     JOINT STIPULATION                                                     LOS ANGELES, CALIFORNIA 90017-2566
                                                                                        (213) 633-6800
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 1                      CERTIFICATION OF SERVICE AND COMPLIANCE
 2          I, Adam S. Sieff, hereby certify that pursuant to N.D. Cal. Civil L.R. 5-1(h)(3), I have
 3   obtained authorization from the above signatories to file the above-referenced document and that
 4   they have concurred in the filing’s content. I further certify that I have served all parties with the
 5   foregoing by electronic service through the Court’s ECF system.
 6

 7   Dated: August 28, 2024
 8                                                       Respectfully submitted,
 9                                                       DAVIS WRIGHT TREMAINE LLP
10
                                                         By: /s/ Adam S. Sieff
11                                                               Adam S. Sieff
12                                                       Attorneys for Plaintiff
                                                         NetChoice, LLC d/b/a NetChoice
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                                                           4                        DAVIS WRIGHT TREMAINE LLP
                                                                                       865 S. FIGUEROA ST, SUITE 2400
     JOINT STIPULATION                                                              LOS ANGELES, CALIFORNIA 90017-2566
                                                                                                 (213) 633-6800
     Case No. 5:22-cv-08861-BLF                                                                Fax: (213) 633-6899
